Case 2:11-cr-OO762-PSG Document 9 Filed 09/12/11 Page 1 of 2 Page |D #:44 &1
UNITED STATES DISTRICT CoURT FoR THE CENTRAL DISTRICT OF CALIFORNIA

UNITED sTATEs oF AMERICA, CASE NUMBER; _
Plaimiff, </ z *` %2 `
%V\Zj/\ %W COMPLAINT; INFORM.ATION:
vloLATIoN oF TITLE; sECTIoN; § z
M. /

KERSONAL RECOGNIZANCE (Signature only - no dollar amount)
|:|

 

 

 

 

 

 

UNSECURED APPEARANCE BOND IN THE AMOUNT oF $ 0 UW, 90 RELEASE No.
APPEARANCE BoND IN THE AMoUNT oF s

 

 

 

 

l:l WITH CASH DEPOSIT (AMOUNT OR %) l:l RELEASE TO PRETRIAL ONLY
|:l WITH AFFIDAVIT OF SURETY NO JUSTIFICATION (Form CR-4) |:l FORTHWITH RELEASE
l:l ALL CONDITIONS OF BOND
SHALL BE MET AND BOND
'|:l WITH AFFIDAVlT WITH JUSTIFICATION OF SURETY (Form CR-3) POSTED BY:
Date

 

 

l:l WITH DEEDING OF PROPERTY
l:l COLLATERAL BOND IN AMOUNT OF (Cash or Negotiable Securities) $
l:l CORPORATE SURETY BOND IN AMOUNT OF (Separate Forrn Required) $

El A'DDITIONAL REQUIREME T ; / .. ij
BAIL FIXED BY coURT \i;/ALL REQUIREMENTS HAvE BEEN ME ;
Deputy C/e)'k '

Deputy Clerk

 

 

 

PRE-CONDITIONS TO RELEASE
|:l Bail is subject to Nebbia hearing which is a hearing to inquire about the source of the collateral.
l:l The Nebbia hearing can be waived by the government
ADDITIONAL CONDIT]ONS OF RELEASE
In addition to the GENERAL CONDITIONS of RELEASE, as specified on other side, the following conditions of release are

im osed upon you: ‘\/ 95
Defendant shall submit to: Pretrial Sup<.{rvision. [ ] Intensive Pretrial Supervision.
N/Surrender all passports to the Clerlruf~€eu»rt, or sign a declaration no later than, and not apply
or the issuance of a passport during the pendency of this case.
Travel is restricted to: CD/CA CA
O'Do not enter premises of any airport, seaport, railroad, or bus terminal which permits exit from the Continental U.S. or area
f restricted travel without Court perrnission.
@/;eside as approved by PSA and do not relocate without prior permission from PSA.
U/Maintain or actively seek employment and provide proof to PSA.
ij Maintain or commence an educational program and provide proof to PSA.
l:| Avoid all contact, directly or indirectly, with any person who is or who may become a victim or potential Witness in the
subject investigation or prosecution, including but not limited to:

 

 

l:l Not possess any tirearms, ammunition, destructive devices, or other dangerous Weapons. [ ] In order to determine
compliance, you will agree to submit to a search of your person and/or property by Pretrial Services in conjunction with the
US Marshal.

|:l Not use/possess any identification other than in your own legal name or true name. [ ] In order to determine compliance, you
will agree to submit to a search of your person and/or property by Pretrial Services in conjunction with the U.S. Marshal.

[l Not use alcohol.

[:l Not use or possess illegal drugs. [ l In order to determine compliance, you will agree to submit to a search of your person
and/or property by Pretrial Services in conjunction with the US Marshal.

l:l Submit to drug [and/or] alcohol testing and outpatient treatment as directed by PSA. You shall pay all or part of the cost for
testing and treatment based upon your ability to pay as determined by PSA. l

ij Participate in residential drug [and/or] alcohol treatment as deemed necessary by PSA. You shall pay all or part of the cost
for treatment based upon your ability to pay as determined by PSA. [ ] Release to PSA only.

l:l Participate in mental health evaluation, and/or counseling and/or treatment as directed by PSA. You shall pay all or part of
the costs based upon your ability to pay as determined by PSA.

 

 

Defendant Initials Date Cl ' 'CR ' i l
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ORiciNAL - YELLow CoPY PINK- PRETR!AL SEvaCEs leTE - DEFENDANT CoP¥
CR-l (07/05) CENTRAL msTRlCT oF CALlFoRNlA RELEASE oRi)ER AND BOND FoRM Page 1 orz

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f v CASE NUMBER;
M ca //~%,zi

[l Participate in one of the following horne confinement program components and abide by all requirements of the program
which [ ] will or [ ] will not include electronic monitoring or other location verification system. You shall pay all or part
of the cost of the program based upon your ability to pay as determined by PSA.

[ ] Curfew. You are restricted to your residence every day: [ ] from to . [ ] as directed by PSA.

[ ] Release to PSA only.

[ ] Home Detention. You are restricted to your residence at all times except for employment; education; religious
services; medical, substance abuse, or mental health treatrnent; attorney visits; court-ordered obligations; or other
activities as pre-approved by PSA. [ ] Release to PSA` only.

[ ] Home Incarceration. You are restricted to your residence at all times except for medical needs or treatment; religious
'services; and court appearances as pre-approved by PSA. [ ] Release to PSA only.

l:l Not possess or have access to, either in the home, the workplace, or any other location, any device which offers Intemet

' access, except as approved by PSA. [ l In order to determine compliance, you will agree to submit to a search of your
person and/or property by Pretrial Services in conjunction with the US Marshal.

l:l Not associate or have verbal, written, telephonic, or electronic communication with any person who is less than the age of 18
except in the presence of another adult who is the parent or legal guardian_of the minor.

l:| Not loiter/be found within 100 feet of any school yard, park, playground, arcade, or other place primarily used by children
under the age of 18.

|:| Not be employed by, affiliate with, own7 control, or otherwise participate directly or indirectly in conducting the affairs of
any daycare facility`, school, or other organization dealing with the care, custody, or control of children under the age of 18.

l`_'l Not view or possess child pornography or child erotica. [ ] In order to determine compliance, you will agree to submit to a

` search of your person and/or property, including computer hardware and software, by Pretrial Services in conjunction with
the US Marshal.

El Other conditions:

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City, State And Zip Code

Telephone Num`ber

l:l Clieck if interpreter is used: I have interpreted into the language all of the
above conditions of release and have been told by the defendant that he or she understands all of the conditions of release.

 

 

 

 

Interpreter's signature Date
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vApproved. ' _}`%Q'Q______' D// l i
' Um/ed States District Judge / Magislrate Juq'ge Date
If Cash Deposited: Receipt # FOF $-_`___

 

(This bond may require surety agreements and affidavits pursuant to Local Crirninal Rules 46-3.2 and 46-6)

ORIGINAL - YELLOW COPY PINK- PRETRIAL SERVICES WHITE - DEFENDANT COPY

 

CR-l (07/05) CENTRAL DlSTRlCT OF CALlFORNIA RELEASE ORDER AND BOND FORM Page Z of 2

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